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Case. 1. 24-CV-OL

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“CUXAROGA COUNTY, Oe) | Teun JaURAALZATION

" Casehio: 2022 CRB.003944

* PRORIBITION ORDER AGAINST -

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submit copies of proof of all-ivad-safe certificates, receipty
exemptions te Housing Gourr Specialist Cody prior to thie Bert

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, Defendant is opdered'to sothealy, transfer ar.gomt anyiof th

Defextdant i: ordered to place any trash cans on the pire ech

shrubbery from any of the properties owned wit

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42. PagelbD #: 10

base. 1.24-CV-U19 /0-DAF DOC #1

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o. Defendant jgordered to fay the outstanding property taxes on properties it dwas:
within the £ity of Cleveland and:provide proafof tex payment plan, tar payments,
or receipts te Bouting Court Specialist Cody. SER ATTACHED LIST], | —

B- Defendant ss -erdered to submit a mainterane and repair plan to Hocsing
Specialist Cody every 30 days, on the 1* of each month, for all properties owned.
within the City of Cleveland to provide this Court with repairs plans,detuiling the
names-and information Yor coutractors hired, phien properties will be inspected,
and’ indicate whee the ground keeping will he completed. [SEE ATTACHED:

q The JE -~& Grier remains subject to modifications upon the conclusion of
Inspector bonds Derrett, City of Cleveland, Department of Building and
Housiig zbating al open: violations. [VIOLATION NOTICES: v12032279,

 “WYS01S045, V13015053, V2109387, ATTACHED] :

x. Defendant is ordered te renain in communication, and provide. all required
Socoménts and iniormation timely to Hausing Court Specialise Beverly Cody

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TRANSFER OF GIFT, OR THIS ORDER EXPIRES ON JONES,

